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UNITED STATES DISTRICT COURT
FOR THE

DISTRICT OF MASSACHUSETTS

CIVIL ACTION #16-11666-LTS

EDWARD JONES,
PLAINTIFF,

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CAROL HIGGINS-O'BRIEN es
LISA MITCHELL ..
DOUGLAS L. BOWER
MICHAEL DEVINE | 8S
JOHN F. CAMELO Se
SCOTT J. STEEVER

MARTA LEON

NEIL NORCLIFFE

TODD DERBYSHIRE

DEFENDANTS.

FIRST AMENDED COMPLAINT AND JURY DEMAND FOR TRIAL

This is an action under Federal and State Civil Rights Act,
and the statuatory and common laws of the Commonwealth of
Massachusetts. Filed by Edward Jones (herein after "Plaintiff")
a state mentally ill prisoner. Seeking damages and injuctive
relief under 42 U.S.C.A. § 1983, For Protection And Advocacy For
Individuals With Mental Illness ("PAMII") under 42 U.S.C.A. §

10801-10851 etc. seq., 42 U.S.C.A. § 1981, Conspiracy under 42
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U.S.C.A. § 1985, and Intentional Infliction Of Emotional Distress.

INTRODUCTION

This complaint alleges the denial of "Plaintiff's" rights to
protection from sexual harassment (s); physical and mental harm;
adequate mental health care, for serious mental health needs;
retaliation; conspiracy to violate Federal and State Laws; all, in
violation of the Eighth and Fourteenth Amendments to the United
States Constitution. Occuring as a direct result of the Department
of Correction "Defendants' failure to protect "Plaintiff" from
unwanted sexual advances; and, thier failure to follow Department
of Correction Sexually Abusive Behavior Prevention And Intervention
Policy in reporting, documenting and conducting “PREA"
investigations. Defendants' failure to follow Keep-A-Way Orders
and reccommendations (from mental health contractors and staff-
persons) to protect "Plaintiff", ultimately resulting in serious
physical and psychological injury. Defendants, further, use of
crisis lock-up, awaiting action status, and, segregation to
intimidate and retaliate against "Plaintiff" for appropriately
reporting climate issues; thier violation of Federal and State Laws
when they intervened and conspired to stop "Plaintiff" (a victim)
of sexual abuse) from contacting a Sexual Abuse Victim Confidential
Support Sevices Hotline for support services related to sexual
harassment(s): In direct violation of 103 DOC 426 etc. seq.; 103
CMR 482 etc. seq. ; 103 CMR 157 etc. seq.; M.G.L. c. 124 8 1; M.G.

L. c. 268 § GA; M.G.L. c. 274 $ 2 thru 6 and M.G.L. c. 233 § 209
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constitute a failure to protect, and, deliberate indifference to

"Plaintiff's" serious mental health and physical safety.

1. This Court has jurisdiction over "Plaintiff's" Federal claims
pursuant to 28 U.S.C.A. 8 1331 and 1343(a)(3); 28 U.S.C.A. § 2201

and 2202; 5 U.S.C.A. 8 702.

2. This Court has jurisdiction over "Plaintiff's" State law

claims pursuant to 28 U.S.C.A. § 1367 and M.G.L. c. 127 etc. seq.

3. "Plaintiff" has exhausted all available administrative

remedies regarding the matters described in this complaint.

THE PARTIES .

4,.. "Plaintiff", Edward Jones , at all times relevant described
in this complaint, is incarcerated at the OLd Colony Correctional
Center (herein after "0.C.C.C.") 1 Administration Road,

Bridgewater, Massachusetts 02324.

5. Defendant Carol Higgins-O'Brien (herein after "Defendant
O'Brien"), at all times relevant to this complaint, is/was the
Commissioner of the Department of Correction with an office located
at 50 Maple Street (Suite #3), Milford, Massachusetts 01757. The
Department of Correction incarcerates persons within the
Commonwealth of Massachusetts. "Defendant Higgins-O'Brien" is

named in her individual and official capacities.
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"Defendant Higgins-O'Brien", as Commissioner, is/was responsible
for the administration and oversight of the operations of the
Department of Correction. Said responsibilities include, in
particular but not limited to, the pre-employment screening of
prospective management and correction officers, the training‘of
management and correction officers, the preparation and
implementation of policies and procedures governing duties and
performance of supervisory and non-supervisory personnel and
independent contractors, the supervision of supervisory and non-
supervisory personnel and independent contractors, the management
and maintnance of the Old Colony Correctional Center, and
treatment, care and safety of persons incarcerated and/or confined
in the Old Colony Correctional Center.

6. Defendant, Lisa Mitchell (herein after "Defendant Mitchell"),
at all times relevant to this complaint is/was the Superintendent
of the Old Colony Correctional Center, with an office located at
50 Maple Street (Suite #3), Milford Massachusetts 01757.
"Defendant Mitchell" is named in her individual and official
capacities.

7. Defendant Douglas L. Bower (herein after "Defendant Bower"),
at all times relevant to this complaint is/was the Deputy
Superintendent of Operations at the Old Colony Correctional
Center. With an office located at Old Colony Correctional Center,
1 Administration Road, Bridgewater, Massachusetts 02324.
"Defendant Bower" is named in his individual and official
capacities.

“Defendants Mitchell and Bower", as Superintendent and Deputy

Superintendent, is/was responsible for the administration and

oversight of the operations and conditions of treatment and

confinement in the Old Colony Correctional Center. Said
responsibilities include, in particular but not in limitation,

the pre-employment screening of prospective supervisory and

non-supervisory personnel, the adoption and implementation of

policies, procedures and regulations necessary for the care and
safety of incarcerated and confined persons at the Old Colony

Correctional Center, the training of supervisory and non-
supervisory personnel, the preparation and implementation of

policies, procedures and regulations governing the duties and
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performance of supervisory and non-supervisory personnel and
independent contractors, the supervision of supervisory and non-
supervisory personnel and independent contractors, the maintnance
of Old Colony Correctional Center, and the care, treatment and
safety of persons incarcerated and/or confined in the Old Colony
Correctional Center,

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8. Defendant Michael Devine (herein after "Defendant Devine"),,
at all times relevant to this complaint, is/was deputy
Superintendent and "PREA™ Manager of Old Colony Correctional
Center, with an office located at Boston Pre-Release Center,
430 Canterbury Street, Roslindale, Massachusetts 02131.
"Defendant Devine" is named in his individual and official
capacities.

"Defendant Devine", as "PREA" Manager, is/was responsible for
implementing and monitoring the Sexually Abusive Behavior
Prevention And Intervention Policy, and coordinates the Department
of Corrections compliance with the Prison Rape Elimination Act of
2003. "Defendant Devine's duties as “PREA™ Manager include oversight
and implementation of the "PREA” initiative.

As Deputy Superintendent, "Defendant Devine" is/was responsible

for the administration and oversight of the operations and
conditions of treatment of persons incarcerated and/or confined

at the Old Colony Correctional Center. Said responsibilities
include, in particular but not in limitation, the pre-employment
screening of prospective supervisory and non-supervisory

personnel, the adoption and implementation of policies, procedures
and regulations necessary for the safety, care and treatment of
persons incarcerated and/or confined at the Old Colony Correctional
Center, the training of supervisory and non-supervisory personnel,
the preparation and implementation of policies, procedures and
regulations governing the duties and performance of supervisory
and non-supervisory personnel and independent contrctors, the
supervision of supervisory and non-Supervisory personnel and
independent contractors, and the safety, care and treatment of
persons incarcerated and/or confined at the Old Colony Correctional
Center.

9, Defendant, John F. Camelo (herein after "Defendant Camelo"),
whos address is unknown to the "Plaintiff", was at all times
relevant to this complaint, a correctional officer/captain at

Old Colony Correctional Center. At all times material to this
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complaint, "Defendant Camelo" was acting within the scope of
his employment and under color of state law. he is sued in his
individual and official capacity as a correctional officer/
captain of Old Colony Correctional Center, 1 Administration
Road, Bridgewater, Massachusetts 02324.

10. Defendant, Scott J. Steever (herein after "Defendant Steever"),
whos true address is unknown to the "Plaintiff", was at all times
relevant to this complaint, a correctional officier at Old
Colony Correctional Center. at all times material to this
complaint, “Defendant Steever" was acting within the scope of
his employment and under color of state law. He is sued in his
individual and official capacity as a correctional officer of
Old Colony Correctional Center, 1 Administration Road,
Bridgewater, Massachusetts 02324.

11. Defendant, Marta Leon (herein after "Defendant Leon"), whose
true address is unknown to the "Plaintiff", was at all times
relevant to this complaint Records Manager at Old Colony
Correctional Center. At all times material to this complaint,
"Defendant Leon" was acting within the scope of her employment
and under statelaw. She is sued in her individual and official
capacity as Records Manager of Old Colony Correctional Center,
1<Administration Road, Bridgewater, Massachusetts 02324.

12. Defendant Neil Norcliffe (herein after "Defendant Norcliffe"),
is a supervising medical/mental health director, providing
medical/mental health services to patients/inmates/prisoners at
the Old Colony Correctional Center, with an office located at

Old Colony Correctional Center, 1 Administration Road,
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Bridgewater, Massachusetts 02324. "Defendant Norcliffe" is sued
in his individual and official capacity. .

13. Defendant Todd Derbyshire (herein after "Defendant Derbyshire"),
is a mental health clinician providing mental health services to
patients/inmate/prisoners at 01d Colony Correctional Center,
with an office located at Old Colony Correctional Center,

1 Administration Road, Bridgewater, Massachusetts 02324.
"Defendant Derbyshire" is sued in his individual and official

capacity.

At all times of the events described in this complaint,
"Defendants Norcliffe and Derbyshire" were employees of
Massachusetts Partnership For Correctional Health, a private
corporation under contract with "Defendant Higgins-O'Brien" in
accordance with M.G.L. c. 124 § 1(m) to provide adequate mental
health care to needed state prisoners within the "Doc" in
accordance with 103 CMR’761:07; 103 DOC 650.01 etc. seq.; 103
DOC630; and 103 DOC 207.04(2); M.G.L. c. 124 § 1; M.G.L. c. 30A
§ 1-A-8; M.G.L. c. 127 § 38E - 38H; M.G.L. C. 124 $ 1(c); M.G.L.
c. 30 8 36(a); ACA standards: 3-4336, 4337, 4342, 4349, 4362,
4367, 4368, 4369; Prison Rape Elimination Act of 2003 Public Law

108-79 ("PREA"); 103 DOC 519 and NCCHC standards.
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FACTS

On approximately March 25, 2013, "Plaintiff", Edward Jones
(herein after "Plaintiff"), was sentenced to serve a seven
(7) year term of incarceration, with a concurrent sentence
of ten (10) to twelve (12) years; said sentences was imposed
to be served with the Massachusetts Department of Correction,

in accordance to/with state and federal laws.

On June 13, 2013, due to a history of mental illness,
Department of Correction (herein after "DOC") officials at
MCI-Cedar Junction classified "Plaintiff" to the mental
health Residential Treatment Unit (herein after "RTU") at

Old Colony Correctional Center (herein after "0.C.C.c.").

On or about June 2015, "DOC" officials classified, and
placed, inmate Vernon Thompson (herein after "inmate

Thompson") in the mental health "RTU" at "O.c.c.c.".

Soon after "inmate Thompson's arrival to the "RTU" in June
2015, "Plaintiff" began reporting to mental health "RTU"
clinicians of "Plaintiff" being sexually targeted and
harassed by "inmate Thompson"; whom "Defendant Captain

Camelo" ordered be housed next cell to "Plaintiff".
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On or about July 2015 thru August 2015, "Defendant Camelo"
was notified by "RTU" clinicians of received complaints
from "Plaintiff" involving alligations of sexual
harassment(s) towards "Plaintiff", and, "Defendant Camelo"
failed to protect "Plaintiff" from sexual harassment(s)

and/or physical assault.

On or about July 2015 thru August 2015, "Defendant Devine"
was notified by "RTU" clinicians of received complaints

from "Plaintiff" involving alligations of sexual harassment(s)
towards "Plaintiff", and, "Defendant Devine" failed to
protect "Plaintiff" from sexual harassment(s) and/or

physical assault.

From June 2015 thru October 2015, the sexual harassment(s)

continued inspite of "Defendants" having been notified.

"Defendant Camelo" failed on several occaisions to emplement
policy procedures, set forth in Department of Correction's
Sexually Abusive Behavior Prevention And Intervention Policy
"103 DOC 519", upon receiving staff reported alligations

of sexual harassment(s) towards "Plaintiff".

"Defendant Devine", being "PREA" Manager, failed on several

occaisions to emplement policy procedures, set forth in

Sexually Abusive Behavior Prevention And Intervention Policy
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"103 DOC 519", upon receiving staff reported alligations

of sexual harassment(s) towards "Plaintiff".

On or about September 24, 2015, "Defendant Camelo"
retaliated against "Plaintiff", by subjecting "Plaitniff"
to inappropriate Awaiting Action Status ("A.A") lock-up
absent any disciplinary infractions in an attempt to stop
"Plaintiff" from reporting alligations of sexual

harassment(s) and climate issues with "inmate Thompson".

On or about September 24, 2015 and September 25, 2015

(exhibit #11), "Plaintiff" personally (via corresspondence)

reported to Superintendent, Lisa Mitchell (herein after
"Defendant Mitchell"), alligations of sexual harassment(s)
towards "Plaintiff", and, "Defendant Mitchell" failed to
protect "Plaintiff" from sexual harassment(s) and/or

physical assault.

On or about September 24, 2015 and September 25, 2015.
(exhibit #11), "Plaintiff" (via corresspondence) informed
"Defendant Mitchell" of a serious risk of harm of violence
and psychological trauma, and, "Defendant Mitchell"
disregarded such risks when she instructed "inmate Thompson"
be released in the "0.C.C.C." general population with

"Plaintiff"

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On or about September 24, 2015, "Defendant Mitchell"
disregarded an August 19, 2015 Keep-A-Way Order, issued by
Institutional Perimiter Security ("IPS") instructing "inmate
Thompson" be kept away from "Plaintiff", when she instructed
“inmate Thompson" be released in the general "0.C.c.c."

population with "Plaintiff".

"Defendant Mitchell" disregarded reccommendation from mental -
health "RTU" staff clinicians that "inmate Thompson and

"Plaintiff" should be separated by institutions, when she
instructed "inmate Thompson" be released in the "0.C.c.c."

general population with "Plaintiff".

On October 24, 2015, "Plaintiff" was eventually assaulted
and sexually harassed by "inmate Thompson" in a chow hall

full of other prisoners and correctional staff.

Such physical assault consisted of "Plaintiff" being stabbed
in the right hand with a folk, receiving stitches, resulting
in nerve damage to "Plaintiff's" right palm for which pain
medication and months of painful physical therapy was

prescribed,
On or about August 26, 2015, "Defendant Camelo" in violation

of "103 DOC 519” initiated an undocumented "PREA"

investigation against "Plaintiff", the basis of knowingly

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false alligations of "PREA" lodged against "Plaintiff";
all steps of such investigation was not documented as

required by policy.

On or about December 3, 2015, "Defendant Camelo" in

violation of "103 DOC 519” initiated a second undocumented
"PREA" investigation against "Plaintiff", again, the basis

of knowingly false alligations of "PREA" lodged against
"Plaintiff", all steps of such investigation was not. documénted

as required by policy.

Both August 26, 2015 and December 3, 2015 investigations,
separately, subjected "Plaitniff" to crudely indecent, vulgar,
false and deflamatory questions concerning incidents of sex

between "Plaitniff" and another prisoner.

Both August 26, 2015 and December 3, 2015 investigations,
separately, subjected "Plaintiff" to interrogations and
forced medical and psychological screenings for suspected
sexual abuse, which traumatized "Plaintiff" being a victim

of sexual abuse as a child.

"Plaintiff" later discovered that the reasons "Defendants"
were going through any means to keep "inmate Thompson at
"O.C.C.C.", was because "inmate Thopmson" could not be
housed at any other "DOC" institutions due to enemy

situations with other prisoners,

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On or about December 3, 2015, psychological screening
clinician, Todd Derbyshire (herein after "Defendant
Derbyshire"), subjected "Plaintiff" to inappropriate
and non-emergency placement in forced seclusion when
"Plaintiff" denied false alligations of "PREA" lodged

against "Plaintiff".

On or about December 3, 2015, "Defendant Camelo" personally
instructed correctional officer, Scott J. Steever (herein
after "Defendant Steever") to stop "Plaintiff" from calling
an approved Department of Correction Sexual Abuse

Confidential Support Services Hotline (Exhibit #29).

On or about December 3, 2015, "Defendant Steever" violated
Department of Correction rules, regulations, guidelines
and/or procedures, as well as "Plaintiff's" Consttutional
Rights; when he failed to allow "Plaintiff" to call an
approved Department of Correction Sexual Abuse Confidential

Support Services Hotline (Exhibit #29).

On or about August 26, 2015 and December 3, 2013 "Defendant
Mitchell" failed to follow "general procedures" and policy
set forth in "103 DOC 519", upon receiving false alligations

of "PREA" lodged against "Plaintiff".

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On or about August 26, 2015 and December 3, 2015,
"Defendant Devine",.as "PREA" Manager, failed to follow
procedures and policy set forth in 103 Doc 519", upon
receiving false alligations of "PREA" lodged against

"PLaintiff".

On or about September 1, 2015, Director of Security,
Douglas L. Bower, Jr. (herein after "Defendant Bower")
entered into a collusion with "Defendant Mitchell" to
cover up an August 26, 2015 undocumented "PREA"

investigation lodged against "Plaintiff" (Exhibit #1).

On or about December 4, 2015, "Defendant Mitchell" and
"Defendant Devine" entered into a collusion with "0.C.C.Cc."
Records Manager, Marta Leon (herein after "Defendant Leon")
and removed all documents from "Plaintiff's" records/files
including Inmate Management System (IMS) relating and
pertaining to August 26, 2015 undocumented "PREA"

investigation lodged against "Plaintiff".

On or about December 2015, prior to allowing “plaintife"
to inspect "Plaintiff's" institutional records via CORI,
"Defendant Leon" removed all records, reports, waivers,
case numbers, referrals, documents, including names/

identity of staff-persons or contractors or volunteers

who wrote or filed incident reports relating and

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pertaining to August 26, 2015 undocumented "PREA"

investigation lodged against "Plaintiff".

Commissioner of Correction, Carol Higgins-O'Brien (herein
after "Defendant Higgins-O' Brien" was notified via letter
by "Plaintiff" of "Plaintiff" being sexually harassed and
retaliated against, and, "Defendant Higgins-O'Brien" failed
to protect "Plaintiff" from a situation that eventually
resulted in physical harm and sexual harassment(s) towards

"Plaintiff".

Under Title 11 of the “Americans With Disabilities Act",
"Plaintiff" is a qualified individual with a mental
disability resulting from a history of sexual and physical

abuse asa a-child (Exhibits #54, #62 thru 70, #90, #91).

On or about early November 2015, Mental Health :Director,
Neil Norcliffe (herein after "Defendant Norcliffe") was
notified by "RTU" clinicians of "Plaintiff" suffering from
nightmares consisting of uncontrolled nocturnal
ejaculations the cause of trauma arising from undocumented

"PREA" investigations and sexual harassment(s).

On or about early November 2015, "Defendant Norcliffe"
failed to acknowledge or respond to a request from "RTU"
clinicians for a special accommodations of a single cell

order for "Plaintiff".

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On or about November 27, 2015, "Defendant Norcliffe"
retaliated against "Plaintiff" for initiating a 5:30 A.M
crisis situation, by subjecting "Plaintiff" to six (6) days
of inappropriate and non-emergency seclusion in a mental

health watch cell.

-On or about November 27, 2015, "Defendant Norcliffe"

discriminated against "Plaintiff" by failing to provide .
"Plaintiff" an entitled to treatment of a special
accomodations of a single cell order and subjecting

"Plaintiff" to six (6) days of inappropriate and non-

emergency seclusion in a mental health watch cell.

The actions and/or inactions of all "Defendants", as set
forth in paragraphs #17 thru 48, failed to.
ensure the rights of "Plaintiff" a person with a mental

illness was advocated and protected.

50. The actions and/or inactions of all "Defendants",:as set forth

in paragraphs #17 thru 49 above, caused "Plaintiff"

psychological traumatization, emotional distress,

uncomfortable traumatic memories, reoccurances of flashbacks,

increased symptoms of Post Traumatic Stress Disorder (herein
after PTSD) and uncontrollable nocturnal ejaculations

(Exhibits #54, #s62 thru 70, #90, #91).

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51. The actions and/or inactions of all "Defendants", as set
forth in paragraphs #17 thru 29 above, caused "Plaintiff"
physical harm that resulted in pain, months of physical
therapy, improper use of right-hand and psychological

damage.

CLAIMS FOR RELIEF

 

COUNT I: 42 U.S.C. 8 1983 VIOLATION OF EIGHTH AMENDMENTS TO

THE UNITED STATES CONSTITUTION:

The "Defendants" collectively and individually knew or should
have known that they were acting with deliberate indifference when
they, failed to protect "Plaintiff" from a serious risk of
physical and psychological harm, and, personally caused

psychological harm.

COUNT IT: 42 U.S.C. $ 1983 and 1981 VIOLATION OF FOURTEENTH

AMENDMENT AND DUE PROCESS:

The "Defendants" collectively and individually knew or should
have known that thier actions were depriving "Plaintiff" of
Constitutional rights to due process of law and protected

interests.

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COUNT III: 42 U.S.C. §8 12131 etc. seq. VIOLATION OF THE

AMERICANS WITH DISABILITIES ACT ("ACT"):

The "Defendants" collectively and individually knew or should
have known that thier actions discriminated against "Plaintiff"
and excluded "Plaintiff" of services "Plaintiff" was entitled to

as a person with a disability.

COUNT IV: 42 U.S.C. 8 1985 CONSPIRACY TO INTERFERE WITH CIVIL

RIGHTS:

The "Defendants" collectively and individually knew or should
have known that they were entering into a conspiracy that would

harm "Plaintiff" and violate "Plaintiff's" Constitutional rights.
COUNT V: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS ("IIED"):

The "Defendants" collectively and individually knew or should
have known that thier actions were intentional, extreme and
outrageous, and would cause "Plaintiff" emotional distress, and,

that such emotional distress would be severe.

COUNT VI: VIOLATION ARTICLE 26 OF THE MASSACHUSETTS

DECLARATION OF RIGHTS:

~ The "Defendants" collectively and individually knew or should

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have known that thier actions were violating "Plaintiff's"

rights to be free fron cruel or unusual punishment.

PRAYER FOR RELIEF

 

Wherefore, the "Plaintiff", Edward Jones prays for

judgement against "Defendants" jointly and severally, as follows:

An award of compensatory damages, allowed by law, an amount the

Court may deem just and proper.

An award of punitive damages, allowed by law, an amount the

Court may deem just and proper.

Attorney fees, filing fees, and, other Court costs and expenses;

including an award of prejudgement interests.

Ordr a judgement that all "PREA" related information and
documentation be removed from "Plaintiff's" "Doc"/institutional

records and files; including "Doc" Inmate Management System.

Enter a preliminary injuction and permanent injuction ordering
"Defendants", thier successors, agents, employees and all
persons acting in concert with them, to continue prescribing
and/or renewing single bunk cell order for as long as

"Plaintiff" suffers serious mental health illness of "PTSD"

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consisting of uncontrolled nocturnal ejaculation episodes

pursuant to 42 U.S.C. § 12131 and § 10801.
6. Declare "Defendants" actions violated "Plaintiff's" rights to
be free from cruel and/or unusual punishment under the U.S

Constitution and Massachusetts Declaration Of Rights.

7. Order such additional relief as this Court may deem just

and proper.

DEMAND FOR JURY TRIAL

 

Edward Jones demands a trial by jury on all counts,

Signed under the pains and penalties of, perjury this 11th

day of November 2016. Signed, Cdurond Samak

unl Meme

Mr. Edward Jdnes (W-102323)
' 0.C.C.C.

1 Administration Road

Bridgewater, Mass 02324

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